         Case 2:14-cr-00021-RMP               ECF No. 838                filed 08/01/14               PageID.3236 Page 1 of 2
O PS 8
(5/04)                                                                                                                      FILED IN THE
                                                                                                                        U.S. DISTRICT COURT
                                                                                                                  EASTERN DISTRICT OF WASHINGTON
                               UNITED STATES DISTRICT COURT
                                                                                                                   Aug 01, 2014
                                                                        for                                            SEAN F. MCAVOY, CLERK

                                               Eastern District of Washington


U.S.A. vs.                       Luton, Brett A.                                        Docket No.             2:14CR00021-RMP-23


                                  Petition for Action on Conditions of Pretrial Release

        COMES NOW, Melissa Hanson, pretrial services officer, presenting an official report upon the conduct of
defendant, Brett A. Luton, who was placed under pretrial release supervision by the Honorable John T. Rodgers sitting in
the court at Spokane, Washington, on the 13th day of March 2014, under the following conditions:

Condition #18: The defendant shall participate in one or more of the following home confinement program(s):

Electronic Monitoring: The defendant shall participate in a program of electronically- monitored home confinement. The
defendant shall wear, at all times, an electronic monitoring device while under the supervision of U.S. Probation. In the event
the defendant does not respond to electronic monitoring or cannot be found, the U.S. Probation Office shall forthwith notify
the U.S. Marshals Service, who shall immediately find, arrest, and detain the defendant. The defendant shall pay all or part
of the cost of the program based upon ability to pay as determined by the U.S. Probation Office.

OR

GPS Monitoring: The defendant shall participate in a program of GPS confinement. The defendant shall wear, at all times,
a GPS device while under the supervision of U.S. Probation. In the event the defendant does not respond to GPS monitoring
or cannot be found, the U.S. Probation Office shall forthwith notify the U.S. Marshals Service, who shall immediately find,
arrest, and detain the defendant. The defendant shall pay all or part of the cost of the program based upon ability to pay as
determined by the U.S. Probation Office.

Home detention: The defendant shall be restricted to his/her residence at all times except for: attorney visits, court
appearances, case-related matters, court-ordered obligations, or other activities as pre-approved by the Pretrial Services
Office or supervising officer, including but not limited to religious services, medical necessities, substance abuse testing or
treatment, or mental health treatment.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: On or about July 27, 2014, Mr. Luton went to a location that was not approved in advance by pretrial services.

                             PRAYING THAT THE COURT WILL ORDER A SUMMONS

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:        August 1, 2014
                                                                               by          s/Melissa Hanson
                                                                                           Melissa Hanson
                                                                                           U.S. Pretrial Services Officer
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THE COURT ORDERS

[ ]      No Action
[ ]      The Issuance of a Warrant
[9]      The Issuance of a Summons
[ ]      Other


                                                              Signature of Judicial Officer

                                                                    "VHVTU 
                                                              Date
